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                                                           3
 PROB 12C                                                                             Report Date: October 22, 2024
(6/16)

                                       United States District Court                                 FILED IN THE
                                                                                                U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                            Oct 22, 2024
                                        Eastern District of Washington                         SEAN F. MCAVOY, CLERK



                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Erica Loraine Elmgren                       Case Number: 0980 2:20CR00172-MKD-2
 Address of Offender:                              Pasco, Washington 99301
 Name of Sentencing Judicial Officer: The Honorable Rosanna Peterson, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Mary K. Dimke, U.S. District Judge
 Date of Original Sentence: May 23, 2022
 Original Offense:          Conspiracy to Distribute 50 Grams or More of Actual (Pure) Methamphetamine,
                            21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846
 Original Sentence:         Prison - 21 months                 Type of Supervision: Supervised Release
                            TSR - 60 months
 Revocation Sentence:       Prison - 3 months
 (April 11, 2023)           TSR - 60 months
 Revocation Sentence:       Prison - 6 months
 (May 19, 2024)             TSR - 60 months
 Asst. U.S. Attorney:       Earl A. Hicks                      Date Supervision Commenced: October 3, 2024
 Defense Attorney:          Carter Powers Beggs                Date Supervision Expires: October 2, 2029


                                          PETITIONING THE COURT

To incorporate the violations contained in this petition in future proceedings with the violations previously reported
to the Court on 10/15/2024.

On October 7, 2024, a supervision intake was completed with Erica Loraine Elmgren. She acknowledged an
understanding of the conditions imposed by the Court and signed a copy of her judgment.

The probation officer believes that the offender has violated the following conditions of supervision:
Violation Number        Nature of Noncompliance

            4           Special Condition # 6: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: It is alleged that Erica Loraine Elmgren violated the term of her
                        supervised release by consuming a controlled substance, methamphetamine, on or about
                        October 13, 2024.
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                       On October 15, 2024, Ms. Elmgren reported to Life Renewal for a substance abuse
                       assessment. During this contact, Ms. Elmgren completed a drug test which was presumptive
                       positive for methamphetamine and marijuana. Ms. Elmgren admitted to having used
                       methamphetamine and denied marijuana use. She signed a drug use admission form. The
                       drug test was packaged and sent to Abbott Laboratory for confirmation; however, the sample
                       was rejected for testing due to insufficient specimen volume.
          5            Standard Condition #2: After initially reporting to the probation office, you will receive
                       instructions from the court or the probation officer about how and when you must report to
                       the probation office, and you must report to the probation officer as instructed.

                       Supporting Evidence: It is alleged that Erica Loraine Elmgren violated the term of her
                       supervised release by to failing to report to the probation officer as instructed on October 17,
                       2024.

                       On October 7, 2024, Ms. Elmgren reported to the U.S. Probation Office. At that time, she
                       was directed to report again on October 17, 2024, at 3 p.m. On October 17, 2024, at
                       approximately 2:10 p.m., Ms. Elmgren left a voice message for the undersigned officer and
                       asked if she needed to report to the probation office. The undersigned made telephonic
                       contact with Ms. Elmgren that same day, and she indicated she had been sick and did not
                       have a ride. She failed to report as instructed.
          6            Special Condition #6: You must abstain from the use of illegal controlled substances, and
                       must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                       no more than 6 tests per month, in order to confirm continued abstinence from these
                       substances.

                       Supporting Evidence: It is alleged Erica Loraine Elmgren violated the term of her
                       supervised release by consuming a controlled substance, methamphetamine, on or about
                       October 18, 2024.

                       On October 21, 2024, Ms. Elmgren reported to the probation office. During this contact, Ms.
                       Elmgren completed a drug test, which was presumptive positive for methamphetamine,
                       amphetamine, and marijuana. Ms. Elmgren admitted to having used methamphetamine. She
                       signed a drug use admission form. The drug test was packaged and sent to Abbott Laboratory
                       for confirmation, and the results are pending.

The U.S. Probation Office respectfully recommends the Court incorporate the violations in this petition in all future
proceedings with the violations previously reported to the Court.

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                              Executed on:     October 22, 2024
                                                                               s/Maria Balles
                                                                               Maria Balles
                                                                               U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [X]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                    Signature of Judicial Officer
                                                                    10/22/2024

                                                                    Date
